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NOT FOR PUBLICATION


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY



  RICARDO SANTIAGO, VAUGHN
  FREDERICK, on their own behalf and on
  behalf of those similarly situated,                   Civil Action No: 20-18581(SDW)(LDW)

                         Plaintiffs,                    ORDER

  v.

  TOTAL LIFE CHANGES LLC and “JOHN                      November 2, 2021
  DOES 1-5”, fictitious name used to identify
  presently unknown entities,

                         Defendants.



 WIGENTON, District Judge.

        This matter, having come before this Court on Defendant Total Life Changes, LLC’s

 (“Defendant”) Motion to Dismiss Plaintiffs Ricardo Santiago (“Santiago”) and Vaughn

 Frederick’s (“Frederick”) putative class action Amended Complaint pursuant to Federal Rules of

 Civil Procedure 12(b)(1) and (6) and 9, and this Court having considered the parties’ submissions,

 for the reasons stated in this Court’s Opinion dated November 2, 2021,

        IT IS on this 2nd day of November, 2021

        ORDERED that Defendant’s Motion to Dismiss (D.E. 35) is GRANTED in part and

 DENIED in part as follows:

        ORDERED that Defendant’s motion is GRANTED on all counts as to Plaintiff Ricardo

 Santiago, and it is further


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        ORDERED that Defendant’s motion is GRANTED on Counts Two, Four, Five, Six,

Seven, Eight, and Nine and DENIED on Counts One and Three as to Plaintiff Vaughn Frederick;

and it is further

        ORDERED that Plaintiffs shall have thirty (30) days to file a second Amended Complaint.

        SO ORDERED.

                                                   ___/s/ Susan D. Wigenton_____
                                                   SUSAN D. WIGENTON, U.S.D.J.


Orig:           Clerk
                Leda D. Wettre, U.S.M.J.
                Parties




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